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CLERK U.S. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF IOWA

FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, | ) Criminal No. 3:21-cr-98
)
v. ) INDICTMENT
)
DAVANTRES DESHAUN MOORE, ) T. 18 U.S.C. § 922(g)(1)
) T. 18 U.S.C. § 924(a)(2)
Defendant. ) T. 18 U.S.C. § 924(d)
) T. 28 U.S.C. § 2461(c)
THE GRAND JURY CHARGES:
COUNT 1

(Felon in Possession of a Firearm)

On or about July 1, 2021, in the Southern District of Iowa, the defendant,
DAVANTRES DESHAUN MOORE, in and affecting commerce, knowingly possessed
a firearm, namely: a loaded, Beretta APX, nine-millimeter handgun, with serial
number A091308X. At the time of the offense, the defendant knew he had been
convicted of a crime punishable by imprisonment for a term exceeding one year.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(2).

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

Upon conviction for the offense alleged in Count 1 of this Indictment, the
defendant, DAVANTRES DESHAUN MOORE, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d), and Title 28, United States
Code, Section 2461(c), all firearms, magazines, and ammunition involved in the

commission of said offense, including, but not limited to, the firearm identified in
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Count 1 of this Indictment.
This is pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c).

A TRUE BILL.

 

FOREPERSON

Richard D. Westphal
Acting United States Attorney

By: Chandon ‘A ow~

Andrea L. Glasgow
Assistant United States Attorney
